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Attorney for the Plaintiffs

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JENNIFER CODEN; LINDSAY RENERT;
JEFFREY RENERT; LILI HUGHES; THOMAS
COVALLO; ALYSSA NIGHTINGALE; GISELA
NIGHTINGALE; TED KURTZ: MARITZA
KURTZ, JOHN THRUSH; JAMES BURGER; and
NORA NELLIS;

Plaintiffs,
Civil Action No.:
¥.

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY: LISA F. GARCIA,
REGIONAL ADMINISTRATOR OF THE
ENVIRONMENTAL PROTECTION AGENCY;
SUFFOLK COUNTY, NEW YORK; SUFFOLK
COUNTY DEPARTMENT OF HEALTH
SERVICES, NEW YORK; WALTER
DAWYDIAK; NEW YORK DEPARTMENT OF
ENVIRONMENTAL CONSERVATION;
NAMRESI CONSTRUCTION &
DEVELOPMENT CORP.; OYSTER BAY
MANAGEMENT CO, LLC; LESSING’S FOOD
SERVICE MANAGEMENT CORP, doing business
as SANDBAR; LESSING’S FRANCHISE
GROUP, INC. doing business as SANDBAR;
LESSING’S NY CORP doing business as
SANDBAR; LESSING’S RESTAURANT
SERVICES, INC. doing business as SANDBAR;
LESSING’S, INC. doing business as SANDBAR;
and MARK LESSING,

COMPLAINT AND DEMAND FOR
JURY TRIAL

Defendants.

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COMPLAINT FOR DAMAGES
AND DECLARATORY AND INJUNCTIVE RELIEF

Plaintiffs JENNIFER CODEN; LINDSAY RENERT; JEFFREY RENERT; LILI
HUGHES; THOMAS COVALLO; ALYSSA NIGHTINGALE; GISELA NIGHTINGALE; TED
KURTZ: MARITZA KURTZ, JOHN THRUSH; JAMES BURGER; and NORA NELLIS
(hereinafter “Plaintiffs” or “Spring Street Residents”), by and through their undersigned counsel
of record, by way of this Complaint against the Defendants UNITED STATES
ENVIRONMENTAL PROTECTION AGENCY; LISA F. GARCIA, REGIONAL
ADMINISTRATOR OF THE ENVIRONMENTAL PROTECTION AGENCY; SUFFOLK
COUNTY, NEW YORK; SUFFOLK COUNTY DEPARTMENT OF HEALTH SERVICES,
NEW YORK; WALTER DAWYDIAK; NEW YORK DEPARTMENT OF
ENVIRONMENTAL CONSERVATION; NAMRESI CONSTRUCTION & DEVELOPMENT
CORP.; OYSTER BAY MANAGEMENT CO, LLC; LESSING’S FOOD SERVICE
MANAGEMENT CORP, doing business as SANDBAR; LESSING’S FRANCHISE GROUP,
INC. doing business as SANDBAR; LESSING’S NY CORP doing business as SANDBAR;
LESSING’S RESTAURANT SERVICES, INC. doing business as SANDBAR; LESSING’S,
INC. doing business as SANDBAR; and MARK LESSING, hereby alleges with knowledge with
respect to its own acts and upon information and belief with respect to all others.

Plaintiffs respectfully request that this Honorable Court grant the following relief:

a) Declare Defendant Oyster Bay Management Co, LLC to have violated and to be in
violation of the New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes
§760-502 and §760-504; and the Clean Water Act, 33 U.S.C. § 1251, et seg. for the illegal
discharges and sanitary system overflows of the Sandbar restaurant since at least June 20, 2018;

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b) Declare Lessing’s Food Service Management Corp. to have violated and to be in
violation of the New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes
§760-502 and §760-504; and the Clean Water Act, 33 U.S.C. § 1251, ef seg. for the illegal
discharges and sanitary system overflows of the Sandbar restaurant since at least June 20, 2018;

c) Declare Lessing’s Franchise Group to have violated and to be in violation of the New
York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and §760-504;
and the Clean Water Act, 33 U.S.C. § 1251, et seq. for the illegal discharges and sanitary system
overflows of the Sandbar restaurant since at least June 20, 2018;

d) Declare Lessing’s NY Corp. to have violated and to be in violation of the New York
State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and §760-504; and
the Clean Water Act, 33 U.S.C. § 1251, et seg. for the illegal discharges and sanitary system
overflows of the Sandbar restaurant since at least June 20, 2018;

e) Declare Lessing’s Restaurant Services, Inc. to have violated and to be in violation of
the New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and
§760-504; and the Clean Water Act, 33 U.S.C. § 1251, et seq. for the illegal discharges and
sanitary system overflows of the Sandbar restaurant since at least June 20, 2018;

f) Declare Lessing’s, Inc. to have violated and to be in violation of the New York State
Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and §760-504; and the
Clean Water Act, 33 U.S.C. § 1251, ef seg. for the illegal discharges and sanitary system
overflows of the Sandbar restaurant since at least June 20, 2018;

g) Declare Defendant Mark Lessing to have violated New York Penal Law § 175.35 in
offering a false instrument for filing with a public authority, public servant, or public office in
order to fraudulently secure approval of an Application for Sewage Disposal Facilities and Water

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Supply Systems for Other Than Single Family Residences executed on or about December 12,
2019;

h) Declare Defendant Mark Lessing to have violated New York Penal Law § 210.45 in
offering a false written statement to the Suffolk County Department of Health Services in order
to fraudulently secure approval of an Application for Sewage Disposal Facilities and Water
Supply Systems for Other Than Single Family Residences executed December 12, 2019;

i) Declare Defendant Mark Lessing to have committed Perjury in the First Degree, in
violation of New York Penal Law § 210.15 by sworn execution of the Application for Sewage
Disposal Facilities and Water Supply Systems for Other Than Single Family Residences on or
about December 12, 2019, while knowing such application contained false statements and
material misrepresentations, in order to fraudulently secure approval of second variance from the
Suffolk County Department of Health Services;

j) Declare Namresi Construction and Development Corp. to have violated and to be in
violation of the New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes
§760-502 and §760-504; and the Clean Water Act, 33 U.S.C. § 1251, ef seq. for the illegal
discharges occurring at and from 37 Main Street in Cold Spring Harbor, New York 11724;

k) Issue a declaratory judgment against the State of New York, finding it to have acted in
violation of the New York State Administrative Procedure Act, NY State APA § 102, ef. seq., he
New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and §760-
504; the Freshwater Wetlands Act, NY Env. Cons. L. § 24-0101, et. seq., and the Clean Water
Act, 33 U.S.C. § 1251, et seg. for the New York Department of Environmental Conservation’s
failure to properly investigate, enforce, and assert appropriate penalties for the ongoing illegal
discharges and sanitary system overflows of 37 Main Street and 53-55 Main Street in Cold

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Spring Harbor, New York 11724;

1) Issue an order against the State of New York requiring enforcement of its duties by and
through the New York Department of Environmental Conservation under Article 78 of the New
York CPLR, in connection with the premises located at 37 Main Street and 53-55 Main Street in
Cold Spring Harbor, New York 11724;

m) Issue a declaratory judgment against Suffolk County, New York, finding it to have
acted in violation of the New York State Administrative Procedure Act, NY State APA § 102, et.
seqg., he New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502
and §760-504; the Freshwater Wetlands Act, NY Env. Cons. L. § 24-0101, ef. seg., and the
Clean Water Act, 33 U.S.C. § 1251, et seq. for its failure to properly investigate, enforce, and
assert appropriate penalties for the ongoing illegal discharges and sanitary system overflows of
Namresi Construction and Sandbar restaurant;

n) Issue an order against Suffolk County requiring enforcement of its duties by and
through the Suffolk County Department of Health Services under Article 78 of the New York
CPLR, in connection with the premises located at 37 Main Street and 53-55 Main Street in Cold
Spring Harbor, New York 11724;

0) Issue a declaratory judgment against Walter Dawydiak, finding him to have acted in
violation of his ministerial duties under the New York State Administrative Procedure Act, NY
State APA § 102, ef. seg., and his actions in violation of New York State Sanitary Code, §760-
1351; Suffolk County Sanitary Codes §760-502 and §760-504; the Freshwater Wetlands Act,
NY Env. Cons. L. § 24-0101, ef. seg., and the Clean Water Act, 33 U.S.C. § 1251, et seg. for its
failure to properly investigate, enforce, and assert appropriate penalties for the ongoing illegal
discharges and sanitary system overflows of Namresi Construction and Sandbar restaurant;

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p) Issue an order against Walter Dawydiak requiring enforcement of his ministerial
duties as Director of Environmental Quality for the Suffolk County Department of Health
Services 8under Article 78 of the New York CPLR, in connection with the premises located at
37 Main Street and 53-55 Main Street in Cold Spring Harbor, New York 11724;

q) Issue a declaratory judgment declaring that the U.S. Environmental Protection Agency
violated the Clean Water Act and the Administrative Procedures Act by failing to perform their
nondiscretionary duties under the CWA and to implement and administer the Act in a manner
that complies with the Administrative Procedure Act;

t) Immediately enjoin Defendants from operating, and allowing the operation of, the
failing and non-compliant sanitary systems at 37 Main Street and 53-55 Main Street in Cold
Spring Harbor, New York 11724, and from further discharging sanitary sewage into the
freshwater wetlands and navigable waters and tributary streams of Cold Spring Harbor and Long
Island Sound:

s) Enjoin Defendants Oyster Bay Management, Sandbar, and the Lessing’s Defendants
from extending the Sandbar restaurant’s sanitary system onto neighboring properties in violation
of County Codes;

t) Assess civil penalties against Defendants Sandbar, Lessing’s, and Namresi of up to 0
$37,500 per day per violation for violations occurring on or before June 20, 2018, and $55,800
per day per violation for violations occurring after June 20, 2018. 40 C.F.R. § 19.4 (effective
Jan. 13, 2020);

u) Allow Plaintiffs to recover all economic and non-economic damages available to them
resulting from the illegal sewage discharges and overflows of Namresi;

v) Allow Plaintiffs to recover all available economic and non-economic damages to

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which they are entitled from each Defendant as a result of the illegal sewage discharges and
sewage overflows of the Sandbar;

w) Immediately enjoin the Defendants from proceeding with the second variance sought
in the falsely sworn Application for Sewage Disposal Facilities and Water Supply Systems for
Other Than Single Family Residences submitted by Mark Lessing on or about December 12,
2019, which will further violate the Suffolk County and SCDHS and New York State codes;

x) Ordering the Defendant’s to remediate the damages sustained by the DEC protected
wetlands on Plaintiff's properties specifically those wetlands located at 36 Spring Street
(including those wetlands which abut Shore Road and Spring Street) and east along Spring
Street.

y) Allow Plaintiffs to recover the reasonable fees, costs, and disbursements of this action,
including attorney’s fees with this litigation; and

z) Grant such further and additional relief as the Court may deem just and proper.

JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction of this action pursuant to 33 U.S.C. §
1365(a)(1) and (2); 28 U.S.C. § 1346(a)(2); and 28 U.S.C. §§ 1331 and 2201 (for declaratory and
injunctive relief arising under the Constitution and laws of the United States).

2. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and Section
505(c)(1) of the Clean Water Act, 33 U.S.C. § 1365(c)(1) because the Environmental Protection
Agency (hereinafter “EPA’”) Region 2 Main Regional Office is located in New York; all other
named Defendants are located in the State of New York; and the events or omissions giving rise
to the claims brought by Plaintiffs occurred within this judicial district, specifically, within
Suffolk County, New York.

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3: Plaintiffs are “citizens” under the Clean Water Act (hereinafter “CWA”) citizen
suit provision and have authority to bring this action, pursuant to 33 U.S.C. §§ 1365(g). Further,
Plaintiffs are “persons” under the Administrative Procedure Act (hereinafter “APA”) and have
authority to bring this lawsuit under the provisions of 5 U.S.C. §§551(2) and 702.

4, On August 5, 2022, Plaintiffs provided written notice of the ongoing and
continuous CWA violations complained of via Certified U.S. Mail to the United States through
Lisa F. Garcia, Regional Administrator of the EPA, Region 2, as required by the CWA, 33
U.S.C. § 1365(b), of its violations of the CWA and Plaintiffs’ intention to file suit.

5. On March 9, 2021 and additionally on August 30, 2022, Plaintiffs provided
written notice of the ongoing and continuous violations of Suffolk County and the Suffolk
County Department of Health Services (hereinafter “SCDHS”) codes and standards along with
the violations of the New York State and County Sanitary Codes via Certified U.S. Mail to New
York Secretary of State, Servicing Agent, the County of Suffolk; Office of the Suffolk County
Attorney; Greg H. Pigott, MD, MPH, Commissioner of the Suffolk County Department of
Health Services; and James L. Tomarken, MD, MSW, MPH, MBA, FRCPC, FACTP,
Commissioner, Suffolk County Department of Health Services of its violations of the CWA, the
New York State Sanitary Code, and the Suffolk County Sanitary Code pursuant to 33 U.S.C. §
1365(b)(1)(A). The August 30, 2022 notice was also sent via email transmission to Walter
Dawydiak of the SCDHS along with other members of the SCDHS; Lisa F. Garcia, Regional
Director of the EPA; Joseph Towana of the EPA; Erica Goldaber of the EPA; and Central
Dispatch of the New York State Department of Environmental Conservation (hereinafter
“DEC”) on said date.

6. Defendants remain in violation of the CWA, Fresh Water Act, APA, New York

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State Sanitary Code, §760-1351, and Suffolk County Sanitary Codes §760-502 and §760-504, in
connection with the premises located at 37 Main Street and 53-55 Main Street in Cold Spring
Harbor, New York 11724, and Plaintiffs are informed and believe, and thereon allege, that
neither the United States, including but not limited to the EPA, nor the New York DEC, Suffolk
County / SCDHS have responded to Plaintiffs’ notices, acted to redress the violations at issue,
nor have they commenced or diligently prosecuted a Court action to redress the violations
alleged in the Notices or this Complaint. More than the requisite sixty (60) days have passed
since the two (2) Notice Letters were issued to the State and Federal Agencies and this action is
not barred by any prior administrative penalty matter issued under Section 309(g) of the Clean
Water Act, 33 U.S.C. § 1319(g). Accordingly, the requirements of 33 U.S.C. § 1365(b)(1)(A),
NY Gen. Mun. Law 50(e), and NY County Law 52 have been satisfied.
PARTIES

L. At all times relevant, Plaintiffs were and are residents of the State of New York,
and the owners of certain real property located within the designated R-80 residential zone on
Spring Street in Cold Spring Harbor. As such Plaintiffs are affected by the health of the
environment and waters of Cold Spring Harbor.

2. Upon information and belief, and all times relevant, Defendant Oyster Bay
Management Co, LLC was and is a domestic limited liability company organized and existing by
virtue of the laws of the State of New York. Oyster Bay Management Co, LLC is the fee simple
owner of the property located at 53-55 Main Street, Cold Spring Harbor, New York; and the
active owner and operator of the Sandbar restaurant located on said property. Defendant Oyster
Bay Management Co., LLC may be served with process through its Registered Agent, Egan &
Golden, LLP, at 95 South Ocean Avenue, Patchogue, New York 11772.

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Bi Upon information and belief, and all times relevant, Defendant Lessing’s Food
Service Management Corp., doing business as the Sandbar, was and is a limited liability
company organized and authorized to conduct business in the State of New York. Lessing’s
Food Service Management Corp. owns, operates, or manages the Sandbar restaurant located at
53-55 Main Street, Cold Spring Harbor, New York. Defendant Lessing’s Food Service
Management Corp. may be served with process through its principal, Michael Lessing, at 3500
Sunrise Highway, Building 100, Suite 100, Great River, New York 11739.

4, Upon information and belief, and all times relevant, Defendant Lessing’s
Franchise Group, Inc., doing business as the Sandbar, was and is a limited liability company
organized and authorized to conduct business in the State of New York. Lessing’s Franchise
Group, Inc. owns, operates, or manages the Sandbar restaurant located at 53-55 Main Street,
Cold Spring Harbor, New York. Defendant Lessing’s Food Service Management Corp. may be
served with process at 3500 Sunrise Highway, Building 100, Suite 100, Great River, New York
LL739.

5 Upon information and belief, and all times relevant, Defendant Lessing’s NY
Corp., doing business as the Sandbar, was and is a limited liability company organized and
authorized to conduct business in the State of New York. Lessing’s NY Corp. owns, operates, or
manages the Sandbar restaurant located at 53-55 Main Street, Cold Spring Harbor, New York.
Defendant Lessing’s NY Corp. may be served with process at 3500 Sunrise Highway, Building
100, Suite 100, Great River, New York 11739.

6. Upon information and belief, and all times relevant, Defendant Lessing’s
Restaurant Services, Inc., doing business as the Sandbar, was and is a limited liability company
organized and authorized to conduct business in the State of New York. Lessing’s Restaurant

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Services, Inc. owns, operates, or manages the Sandbar restaurant located at 53-55 Main Street,
Cold Spring Harbor, New York. Defendant Lessing’s Restaurant Services, Inc. may be served
with process through its principal, Michael Lessing, at 3500 Sunrise Highway, Building 100,
Suite 100, Great River, New York 11739.

a Upon information and belief, and all times relevant, Defendant Lessing’s, Inc.,
doing business as the Sandbar, was and is a limited liability company organized and authorized
to conduct business in the State of New York. Lessing’s, Inc. owns, operates, or manages the
Sandbar restaurant located at 53-55 Main Street, Cold Spring Harbor, New York. Defendant
Lessing’s, Inc. may be served with process through its principal, Michael Lessing, at 3500
Sunrise Highway, Building 100, Suite 100, Great River, New York 11739.

8. Upon information and belief, and all times relevant, Defendant Namresi
Construction & Development Corp. was and is a domestic business corporation organized and
authorized to conduct business in the State of New York at 37 Main Street, Cold Spring Harbor,
New York 11724. Defendant Namresi Construction & Development Corp. may be served with
process through its principal Edith Iserman at 13 Kew Court, Northport, New York 11768.

9. Upon information and belief, and all times relevant, Mark Lessing, acting
individually and as a principal of Lessing’s, Inc., has managed and operated the Sandbar
Restaurant located at 53-55 Main Street, Cold Spring Harbor, New York by and through Oyster
Bay Management Co., LLC and the “Lessing’s Defendants.” Mr. Lessing may be served with
process in this action at 3500 Sunrise Highway, Building 100, Suite 100, Great River, New York
11739 or, alternatively, at 114 Colonial Road, Great Neck New York 11021.

10. | Upon information and belief, and all times relevant, Walter Dawydiak, has acted
individually and within the course of scope of his employment as Director of Environmental

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Quality for the Suffolk County Department of Health Services. Mr. Dawydiak may be served
with process in this action at 360 Yaphank Avenue, Suite 1 C, Yaphank, New York 11980 or,
alternatively, at 27 Rogers Lands, Remsenburg-Speonk, New York 11960.

11. Suffolk County, New York is a municipality incorporated under the laws of the
State of New York responsible for the establishment, enforcement, and promulgation of the
County Sanitary Code through its Department of Health Services, and a person within the
meaning of the Clean Water Act, 33 U.S.C. § 1262(5) and § 1362(5). Suffolk County, New
York has the authority and ability to remedy the harms inflicted by Defendants’ acts and
omissions. Suffolk County, New York, may be served with process in this action through the
New York Secretary of State

12. The State of New York formed the Department of Environmental Conservation
(the New York “DEC”), which is responsible for the establishment, enforcement, and
promulgation of the New York Environmental Conservation Law and the Freshwater Wetlands
Act, NY Env. Cons. L. § 24-0101, ef. seg. Defendant New York, by and through its Department
of Environmental Conservation, has the authority and ability to remedy the harms inflicted by
Defendants’ acts and omissions. The State of New York may be served with process in this
action through the Office of the New York Attorney General, Suffolk Regional Office, 300
Motor Parkway, Suite 230, Hauppauge, New York 11788.

13. Defendant United States Environmental Protection Agency is an agency of the
Federal Government, which has the primary statutory responsibility under the Act to protect the
waters of the United States from pollution. Under the Clean Water Act (“the Act” or “CWA”),
the United States Environmental Protection Agency (the “EPA”) and New York State
Department of Environmental Conservation (the “DEC”) share responsibility for adopting and

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enforcing water quality standards sufficient to “restore and maintain the chemical, physical, and
biological integrity of the Nation’s waters” which standards are central to the CWA’s regulatory
scheme. 33 U.S.C. § 1251(a), (a)(2). The EPA-DEC Enforcement Agreement by and between
the EPA and the New York Department of Environmental Conservation executed April 4, 1984,
establishing “... federal environmental programs authorized/delegated or to be
authorized/delegated under the Clean Water Act ...” individually and through the New York
DEC, acting as a subsidiary of the EPA. Defendants EPA and the New York DEC have the
authority and ability to remedy the harms inflicted by Defendants’ acts and omissions.

14. Defendant Lisa F. Garcia is the Acting Regional Administrator of the
Environmental Protection Agency, Region 2. Together with the Administrator of the United
States Environmental Protection Agency, Ms. Garcia is charged with the administration and
enforcement of the Clean Water Act in the State of New York. Defendant EPA, by and through
its Regional Administrator, has the authority and ability to remedy the harms inflicted by
Defendants’ acts and omissions.

15. | Cold Spring Harbor and the DEC protected wetlands that flow into Cold Spring
Harbor, and subsequently, the Long Island Sound, are the local waterways that receive the illegal
discharges and the environmental impacts from those discharges arising from the Sandbar
Restaurant located at 53-55 Main Street, Cold Spring Harbor, New York 11724 and Namresi
Construction & Development Corp., located at 37 Main Street, Cold Spring Harbor, New York
11724 in violation of the Clean Water Act, the New York State Sanitary Code, and Suffolk

County Sanitary Codes.

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INTRODUCTION & BACKGROUND

ly Cold Spring Harbor is a hamlet in the Town of Huntington, Suffolk County, on

the North shore of Long Island in New York, listed on the National Register of Historic Places.

Water is the defining characteristic of the historical hamlet as Cold Spring Harbor was named
after the abundance of naturally cold freshwater springs that flow through it into the harbor and
once provided drinking water through strategically placed public taps. Cold Spring Harbor
covers approximately two thousand three hundred sixty-eight (2,368) acres, of which one
hundred twenty-eight (128) acres are water, such as the inner harbor that helps form the hamlet’s
Western border. Additionally, Cold Spring Harbor is designated by the New York Department of
State Coastal Zone Management as a “Significant Fish and Wildlife Habitat.”

2. Plaintiffs are residents of Cold Spring Harbor, residing on Spring Street, a quiet
tree-lined street of family homes in the historic district fronted only by residential structures and
abutted by New York State Department of Environmental Conservation designated Freshwater
Wetland Complex H-3. The rear of the Sandbar and Namresi properties border Spring Street in
the residential zone and the historic residences and protected DEC wetlands thereon, the
protected DEC wetlands are within approximately one hundred (100) feet of the failing leeching
fields of the Sandbar restaurant, the Sandbar property line is within approximately fifty (50) feet
of the DEC protected wetlands. As mentioned previously, the protected wetlands flow into Cold
Spring Harbor and, subsequently, the Long Island Sound.

A. Sandbar Restaurant

3. In or about August of 2013, the Lessing’s Defendants received a special use
permit and site plan approval from the Town of Huntington’s Zoning and Planning Boards to
operate a restaurant known as the Sandbar, at 53-55 Main Street in Cold Spring Harbor.

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4, On May 19, 2014, Suffolk County, through the Suffolk County Department of
Health Services, issued a variance to the Sandbar permitting it to operate despite knowing that
the proposed sanitary system on the property was undersized for the property size and intended
use, and did not comply with the standards of the New York State Sanitary Code or the Suffolk
County Sanitary Code.

5, The Declaration of Covenants and Restrictions, personally acknowledged by
Stephen Lessing, a principal owner and the managing member of Oyster Bay Management Co.,
LLC, on June 30, 2014 confirm that “the system will not meet the minimum prescribed
separation distances between property line and a retaining wall,” and that “the system will not
have adequate expansion area for future expansion”.

6. As a condition of approval for the variance, notice was given in the Declaration of
Covenants and Restrictions that, “the sewage disposal system does not comply with standards
and that any repair, replacement and/or expansion of said system may require extensive
reconstruction expense beyond that normally expected.”

t As a result of the Sandbar’s variance and non-compliant sanitary system, which is
operating in violation of the applicable State and County codes, the failing sanitary system
overflows and leaks, with sewage observed seeping from the Sandbar driveway onto Spring
Street, into the DEC protected wetlands, Cold Spring Harbor and the Long Island Sound.
Inspections conducted by the Suffolk County Department of Health Services as early as June 20,
2018 have noted the following:

“Sewage/gray water was noted to be seeping/bubbling
lightly from the driveway behind the [Sandbar Restaurant] several

feet north of a cesspool cover, and flowing down the driveway into
the street below.”

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“Evidence of a recent sewage overflow noted int hat a
stream of sewage was noted starting from rear of Sand Bar [sic]
going into Spring St. towards Shore Rd.”

“Evidence of a sewage overflow noted on the lower portion
of the hill.”

“Sewage observed to be actively overflowing in driveway.
Sewage is slowing seeping up through gravel driveway at a
downward sloping section of driveway leading north to Spring
Street. Sewage not observed to be reaching the roadway and is not
pooling into appreciable puddles”

8. On December 19, 2018, the Sandbar was fined by the Suffolk County District
Court for its violations, for which it was required to pay fines totaling $1,500 and a $75.00 fee.

a. In the face of the fines levied against it, the Sandbar’s failing sanitary system
remained operating in violation of the State and County Codes, and a hearing was held January
17, 2019, as the Sandbar’s failing sanitary system continued to overflow and leak down its
driveway onto Spring Street, into the DEC protected wetlands, Cold Spring Harbor and the Long
Island Sound in violation of the CWA.

10. | Despite the hearing (which was closed to the public) and concerns expressed by
the Spring Street Residents, the nuisances, interferences, and pollutions discharged from the
Sandbar’s failed sanitary system continue unabated to date.

11. On August 9, 2022, the EPA was notified by a formal electronic complaint filing
that the Sandbar restaurant’s failing sanitary system was observed to be overflowing from the
same locations that the DEC and SCDHS have previously confirmed were overflowing and
contained sewage. The DEC was also contacted on August 9, 2022 and a Complaint was filed,

DEC spill #2204065.

12. On August 17, 2022 an additional formal electronic complaint was filed with the

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EPA, specifically the Sandbar’s failing sanitary system was observed overflowing from the
driveway into Spring Street. While the Sandbar added additional gravel to the driveway in July
2022, per the SCDHS direction, the leaking sewage was observed to be overflowing up through
approximately eight (8) inches of compacted gravel and down the driveway into Spring Street,
which leads to the DEC protected wetlands, Cold Spring Harbor and the Long Island Sound.

13. Due to the Sandbar’s failing sanitary system, which has been documented as
failing for years and continues to be utilized to date, which overflows into Spring Street, into the
DEC protected wetlands, Cold Spring Harbor and the Long Island Sound, the Plaintiffs and the
DEC protected wetlands have been and continue to be exposed to various health and
environmental hazards which have impeded the safety and quality of life of the Residents of
Spring Street. The failing sanitary system has further exposed and continues to expose the
underground natural springs and waters of Cold Spring Harbor to excessive contaminants far
above the County and State sanitary codes.

14. Additionally, as a result of the failing Sandbar restaurant sanitary system,
excessive commercial traffic and hazards arise from the Sandbar’s inadequate remedies to
conceal or otherwise control its failing sanitary system which is pumped multiple times per
week [often four (4) to seven (7) times per week] which has been occurring for years and
continues to date. The sanitary pump trucks access the Sandbar from residential Spring Street in
violation of the “One Way” and “Do Not Enter” highway signs posted at the entrance of the
One-Way driveway or they idle on Spring Street in the residential neighborhood while pumping.

15. In addition to the significant noise and noxious smells emitted by the pump
trucks, toxic waste collection tubes extending from the Sandbar to its pump trucks have been
observed leaking sewage onto the ground which runs down Spring Street, into the DEC

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protected wetlands and into Long Island Sound in violation of the CWA. Further, as a result,
rain and storm water runoff contaminated by the leaked sewage runs downhill from the Sandbar
driveway onto Spring Street, into the DEC protected wetlands and into the Long Island Sound.

16. In direct disregard of the hearing and the complaints made against the Sandbar
restaurant, the sewage overflows occurring from the Sandbar’s failing sanitary system continue
unabated and unaddressed by Suffolk County, the Suffolk County Department of Health
Services, or the New York Department of Environmental Conservation.

17. The Suffolk County Department of Health Services Standards for Approval of
Plans and Construction for Sewage Disposal Systems for Other Than Single-Family Residents
dated December 29, 2017 (the “SCDHS Standards” co-authored by Walter Dawydiak) states that
“the purpose of these standards is to provide a means for achieving protection of the
groundwater from excessive contaminant loading and to assure a safe, sanitary means of
disposing of waste water.”

18. The SCDHS Standards further acknowledge that diseases are transmitted by
“water, food, insects, pets, and toys contaminated by human waste.”

19. On March 2, 2020, Plaintiff Coden expressed concerns about the impacts of the
continued sewage overflows on the local groundwater and the protected DEC freshwater
wetlands located approximately within one-hundred (100) feet of the Sandbar sanitary system
directly to Walter Dawydiak of the SCDHS.

20. Mr. Walter Dawydiak of the SCDHS, who co-authored The Suffolk County
Department of Health Services Standards for Approval of Plans and Construction for Sewage
Disposal Systems for Other Than Single-Family Residents dated December 29, 2017, has
engaged with Plaintiff multiple times regarding the Sandbar’s failing sanitary system. Ironically,

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the Introduction co-authored by Mr. Dawydiak addresses the very concerns Plaintiffs have
brought to the attention of Mr. Dawydiak and the SCDHS specifically, the Introduction found on
page 4 states “The purpose of these standards is to provide a means for achieving protection of
the groundwater from excessive contaminant loading and to assure a safe, sanitary means of
disposing of waste water.” Said Introduction continues stating that diseases are transmitted by
“water, food, insects, pets, and toys contaminated by human waste” - the very same issues the
Spring Street Residents are concerned with due to the faulty sanitary system at the Sandbar
which have been observed and documented since 2018 by both the SCDHS and DEC and which
continue to date.

21. The SCDHS and Walter Dawydiak personally, were advised of the Sandbar’s
failing sanitary system and continued sewage overflow observed emanating from the Sandbar
sanitary system. Moreover, failing to address the failing sanitary system, the SCDHS advised
the Sandbar to cover the overflow with multiple layers of gravel, which were compacted with
commercial machinery and are in excess of approximately right (8) inches, and to pump the
failing sanitary system which has been occurring for years a minimum of four (4) times per week
and up seven (7) times per week. Per SCDHS standards and codes, the Sandbar system is
“failing” and yet the Sandbar restaurant continues to remain in operation.

22. On March 9, 2021, the Suffolk County Department of Health Services advised it
dispatched staff to investigate sewage overflows emanating from the Sandbar’s driveway on
March 5, 2021 and March 8, 2021, advising “frozen patches of water were observed seeping
from the gravel driveway,” and concluding “wastewater influence on groundwater appears likely
at one of these frozen patches, located halfway up the driveway.”

23. Regardless of tests revealing continued overflows and leaks, as well as

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groundwater contamination by the sewage overflows, the SCDHS has required only that the
Sandbar re-grade its driveway, covering it with inches of gravel to (unsuccessfully) conceal the
surface level overflow: wholly failing to address the source of the failure and the subsurface
contamination of the groundwater, and failing to require the Sandbar to remediate the
contamination that has accumulated over the past several years in the Spring Street residential
area; the DEC protected wetlands; Cold Spring Harbor and the Long Island Sound.

24. Further, in addition to the sewage overflow observed and documented flowing
from the Sandbar restaurant for years, the SCDHS was made aware on May 22, 2020 by the
Sandbar’s retained expert at H2M by Christopher Weiss, PE to Mr. Knepper (SCDHS) via
written communication, of the direct contamination of the groundwater by the Sandbar’s existing
failing sanitary system. “The existing wicks under the original site will continue to channel
upwelling groundwater from the lower aquifer towards the surface in the area of the old leeching
field. The upwelling water, as soon as it can, will start to flow by gravity towards the aptly
named Spring Street, in the dominant direction of groundwater flow”. Sandbar’s own expert,
notifying the SCDHS, acknowledges the failing sanitary system and the contamination of the
groundwater below the leeching fields of the Sandbar and the contamination of the Spring Street
residential area. The natural springs founds on and below Spring Street flow into the DEC
protected wetlands, Cold Spring Harbor and the Long Island Sound in violation of the CWA. To
date, the failing sanitary system continues to contaminate both above and below ground water
which is known by the Sandbar restaurant per their hired expert and communicated directly to
the SCDHS, DEC and EPA.

25. The SCDHS, DEC and EPA have failed to escalate or pursue any further remedy
to address the illegal failing sanitary system discharges of the Sandbar into the protected DEC

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wetlands or underground natural springs that feed Cold Spring Harbor and Long Island Sound in
violation of the CWA and Freshwater Wetlands Act.
A. Namresi Construction & Development Corp.

26. The property located at 37 Main Street is a former residential structure that
presently operates as a commercial operation with increased space and use. The now
commercial building is operating with the original residential antiquated sanitary system which
is contrary to the Suffolk County and New York State codes. The commercial building is also
operating without a permit from the County.

27. Per the August 30, 2022 Notice and March 9, 2021 Notice sent via Certified Mail
/ Return Receipt sent to Suffolk County and the SCDHS, “37 Main Street does not have a
commercial sanitary system that is up to code”.

28. | The existing Namresi sanitary system on the property is a residential system that
has not been updated to conform with the commercial usage of the building as required by the
applicable codes.

29. In order to be brought into compliance with the applicable codes, the
approximately three thousand (3,000) square foot commercial building occupying the property
located at 37 Main Street will require all of its .37 acres to accommodate a conforming sanitary
system in compliance with the Suffolk County and New York standards and codes for
commercial buildings, which is significant as the Namresi property and more importantly, its
sanitary system, is currently operating in direct violation of Section III, Prohibition of
Installation/Use of Sewage Disposal Systems of the Suffolk County Department of Health
Services Standards for the Approval of Plans and Construction for Sewage Disposal Systems for
Other than Single-Family Residences.

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30. As aresult of its antiquated residential construction, upon information and belief,
Namresi’s sanitary system is failing and contaminating the ground water which leads into the
springs of Cold Spring Harbor, the DEC protected wetlands and the Long Island Sound in
violation of the Clean Water Act.

31. | Despite complaints asserted by the Spring Street Residents, the SCDHS has failed
to conduct any measurable investigation in to the present status of the Namresi residential
sanitary system for the commercial building or the illegal underground and storm water
discharges into the protected wetlands or underground natural springs that feed Cold Spring
Harbor and the Long Island Sound.

C. Extension of Sandbar’s Sanitary System

32. On or about December 12, 2019, the Sandbar restaurant submitted an application
to the SCDHS seeking a second variance to extend its failing commercial sanitary system onto
the property owned by Namresi at 37 Main Street.

33. | The sworn application submitted by Mark Lessing, under penalty of perjury, to
the SCDHS on or about December 12, 2019, as a principal of Sandbar restaurant knowingly
misrepresents that:

a. 37 Main Street and 53-55 Main Street are owned by a single
entity which owns the Sandbar restaurant;

b. The total “Gross Floor Area of [the] Building(s)” is 7,049
square feet;

c. The Gallons Per Day of Sewage Discharge is reflected as 2,550
gpd for both properties - Sandbar and Namresi; and

d. The “Total Area of Parcel” is 0.61 acres.

34. Firstly, the properties at issue are not owned by a single entity as current tax and

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property records show Namresi Construction, Inc. owns the property located at 37 Main Street,
and Oyster Bay Management, Inc. own the property located at 53-55 Main Street (Sandbar).
Accordingly, Mark Lessing, the Sandbar, and Lessing’s Defendants do not own, operate, or
have related authority to seek any material action involving the property located at 37 Main
Street.

35. The Suffolk County Sanitary Code, authored by Walter Dawydiak, specifically
prohibits the expansion of sanitary systems onto neighboring properties, to wit, the Site
Condition Requirements of Section IX require that, “a) sewage disposal systems be located on
land owned by the application and b) on the same parcel as the building.”

36. The gross floor area of the Sandbar alone is approximately seven thousand forty-
nine (7,049) square feet and the commercially operated building located on the property of 37
Main Street, is approximately three thousand (3,000) square feet for a total of approximately ten
thousand forty-nine (10,049) square feet [almost fifty percent (50%) more commercial square
feet than represented under oath in the application]. The correct total “Gross Floor Area of
Buildings” on the two (2) properties in question exceeds no less than ten thousand (10,000)
square feet.

37. The “Gallons Per Day of Sewage Discharge” represented by Mark Lessing as two
thousand five hundred fifty (2,550) gpd, again, does not account for any of the gallons per day
sewage discharge from the commercially-operated building located on the property of 37 Main
Street. The two thousand five hundred fifty (2,550) gpd reflects the Sandbar restaurant alone.

38. Further, the reported “Total Area of Parcel” of 0.61 acres upon which the
application was brought is inaccurate as it does not account for a single parcel, but for the
combined area of both parcels of land located at 37 Main Street and 53-55 Main Street which are

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owned and operated by two (2) separate entities.

39. | The proposal does not indicate correctly that there will be a change in existing use
of a building. Records in the possession, custody, and control of Suffolk County and the
SCDHS evidence that 37 Main Street’s sanitary system is designed to provide for residential
sewer and waste management, and that it was never upgraded to commercial as required by and
in accord with the County and New York State codes.

40. | The misrepresentations, sworn to and submitted under penalty of perjury by Mark
Lessing mislead and misinform the SCDHS to effectuate a second additional variance for the
sole benefit of the Sandbar and Namresi without consideration of the environmental impacts to
the designated DEC protected wetlands, the underground natural springs, or the waters into
which they feed specifically Cold Spring Harbor and the Long Island Sound.

41. As referenced above, there is no evidence that the approximately three thousand
(3,000) square foot commercial building occupying the property located at 37 Main Street has a
conforming sanitary system. The building, once required to be brought up to County and New
York codes, will require all of its .37 acres to accommodate such sanitary system in compliance
with the Suffolk County and New York State standards and codes for commercial buildings.
There is not sufficient room to accommodate any of the Sandbar’s sanitary needs.

42. Due to the limited property available to update the Namresi sanitary system,
which would require the entirety of its 0.37 acre property, there exists no remaining property
available to accommodate the proposed updated sanitary system sought by the Sandbar
restaurant. Further, the Sandbar’s application for the second variance to the SCDHS does not
indicate that the building located at 37 Main Street will be demolished to accommodate the
sanitary needs of the Sandbar.

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43. The 2019 application submitted by the Sandbar to the SCDHS on or about
December 12, 2019, which was subsequently granted, is misleading and misrepresents the facts
and intentions of Defendants Namresi and the Sandbar and results in further environmental harm
to Plaintiffs, Cold Spring Harbor and the Long Island Sound.

D. Failed Enforcement of the Clean Water Act, New York State Sanitary Code, §760-

1351, and Suffolk County Sanitary Codes §760-502 and §760-504

44. Plaintiffs and the Spring Street Residents have repeatedly expressed their
concerns in writing and otherwise to the SCDHS, DEC, and EPA regarding the ongoing and
long-term impacts and damages to Plaintiffs’ properties, the DEC protected freshwater wetlands
located within approximately one hundred (100) feet of the Sandbar’s failing sanitary system,
and the illegal discharges contaminating the ground water feeding Cold Spring Harbor and Long
Island Sound from the unabated failed sanitary systems of the premises located at 37 Main Street
(Namresi) and 53-55 Main Street (Sandbar) in Cold Spring Harbor, New York 11724.

45. Despite the ongoing violations and complaints brought by the Plaintiffs and the
Spring Street Residents, the SCDHS, DEC and EPA have failed to enforce the New York and
Suffolk County Sanitary Codes, permitting the known failing sanitary systems of the premises
located at 53-55 Main Street (Sandbar) and 37 Main Street (Namresi) in Cold Spring Harbor,
New York 11724 to negatively impact Plaintiffs’ properties, contaminate the DEC protected
freshwater wetlands, contaminate the Cold Spring Harbor springs and underground water system
(as acknowledged by Sandbar’s expert Christopher Weiss of H2M) destroying the ecosystem and
wildlife for which Cold Spring Harbor is known in violation of the CWA.

46. As a result of the U.S. Environmental Protection Agency, Suffolk County,
SCDHS and DEC’s failure to comply with the CWA and APA, Namresi and Sandbar and the

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Lessing’s Defendants have been permitted to continue illegal discharges of pathogens and
contaminating pollutants emanating from the failing sanitary system of the premises located at
53-55 Main Street. Further, Namresi located at 37 Main Street has been operating without a
conforming commercial sanitary system in violation of the County and New York State codes.

Upon information and belief, both properties have been contaminating DEC protected
freshwater wetlands, natural springs, Cold Spring Harbor and the Long Island Sound for years in
violation of the CWA resulting in unabated harm to the natural environment, ecosystem, and
waters.

47. Plaintiffs and their properties have been injured by the U.S. EPA, DEC, SCDHS,
Suffolk County, and New York’s ongoing failures to comply with the CWA and enforce the
New York State Sanitary Sewer Code and the Suffolk County Sanitary Sewer Code as it pertains
to the failing sanitary systems of the premises located at 37 Main Street and 53-55 Main Street in
Cold Spring Harbor, New York 11724, resulting in ongoing illegal discharges of pathogens and
contaminants of the natural underground water, DEC protected freshwater wetlands, waters of
Cold Spring Harbor, the Long Island Sound, as well as the economic and property interests of
Plaintiffs as a result of such damage.

STATUTORY AND REGULATORY BACKGROUND
The Clean Water Act

48. The purpose of the CWA is to “restore and maintain the chemical, physical, and
biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). This purpose includes the
elimination of “the discharge of pollutants into the navigable waters” and attainment of “water
quality which provides for the protection and propagation of fish, shellfish, and wildlife and

provides for recreation in and on the water.” 33 U.S.C. §§ 1251(a)(1), (2).

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49. The CWA defines “navigable waters” as “waters of the United States.” 33 U.S.C.
§ 1362(7).

50. Cold Spring Harbor and Long Island Sound and their tributary streams are
“waters of the United States” as defined in EPA’s implementing regulations. 40 C.F.R. §§ 122.2,
120.2. The CWA requires all states to adopt water quality standards for their water bodies,
subject to EPA review. 33 U.S.C. § 1313(c)(1).

51. | State water quality standards must: (1) designate uses of the waterway (e.g.,
protection of aquatic life and recreational uses); (2) set water quality criteria, expressed as either
narrative or numeric standards; and (3) contain an anti-degradation policy that protects existing
uses. See 33 U.S.C. § 1313; 40 C_F.R. §§ 131.10-131.12

52. A water quality standard must take into account the water’s “use and value for
public water supplies, propagation of fish and wildlife, recreational purposes, and agricultural,
industrial, and other purposes... .” 33 U.S.C. § 1313(c)(2)(A).

53. Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311{a), prohibits the
discharge of a pollutant by any person to waters of the United States, except, inter alia, in
compliance with a National Pollutant Discharge Elimination System (“NPDES”) permit issued
pursuant to Section 402 of the Clean Water Act, 33 U.S.C. § 1342.

54. Section 502(6) of the CWA, 33 U.S.C. § 1362(6), defines “pollutant” to include,
inter alia, sewage, sewage sludge, biological material and industrial, municipal and agricultural
waste.

55. | Any unauthorized discharge of a pollutant is a violation of the Clean Water Act
under Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a).”

56. Section 505(a) of the Clean Water Act provides for citizen enforcement actions

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against any “person,” for violations of (1) any effluent standard or limitation or (2) an order
issued by the Administrator or a State with respect to such a standard or limitation. See 33
U.S.C. §§ 1365(a), 1365(H, 1362(5).

57. Section 505(a) of the Clean Water Act, 33 U.S.C. § 1365(a), authorizes an action
for injunctive relief. Each separate violation of the Clean Water Act subjects the violator to an
assessment of civil penalties pursuant to the Clean Water Act sections 309(d) and 505(a), 33
U.S.C. §§ 1319(d), 1365(a), occurring from at least July 28, 2015 to the present. Civil penalties
for violations of the Clean Water Act subject the violator to a penalty of up to $55,800 per day
per violation for violations occurring after November 2, 2015 and $37,500 per day per violation
for violations occurring before November 2, 2015. 40 C.F.R. § 19.4 (effective Jan. 13, 2020).

58. Section 505(d) of the Clean Water Act, 33 U.S.C. § 1365(d), permits the
prevailing or substantially prevailing parties to recover litigation costs, including attorneys’ and
experts’ fees.

STATUTORY AND REGULATORY BACKGROUND
New York Environmental Conservation Law, The Freshwater Wetlands Act

59. New York State’s freshwater wetlands are protected under Article 24 of the
Environmental Conservation Law, known as the “Freshwater Wetlands Act” (hereinafter
“FWA”).

60. The purpose of the FWA is to “preserve, protect and conserve freshwater
wetlands and the benefits derived therefrom, to prevent the despoliation and destruction of
freshwater wetlands, and to regulate use and development of such wetlands to secure the natural
benefits of freshwater wetlands, consistent with the general welfare and beneficial economic,

social and agricultural development of the state.” New York Environmental Conservation Law §

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24-0103.

61. Cold Spring Harbor is abutted by New York State Department of Environmental
Conservation designated Freshwater Wetland Complex H-3.

62. The boundaries of the H-3 designated Freshwater Wetland Complex abutting
Spring Street in Cold Spring Harbor are within approximately one hundred (100) feet of the
failing leeching fields of the Sandbar restaurant, the Sandbar property line is within ©
approximately fifty (50) feet of the DEC protected wetlands.

63. As provided in the New York State Freshwater Wetlands Delineation Manual, the
New York State regulated wetlands area includes the wetlands themselves, as well as a
protective buffer or “adjacent area” extending 100 feet landward of the wetland boundary.

64. The FWA accords with the CWA and New York Environmental Conservation
Laws as to the protection of navigable waters, further established under NY Env. Cons. L. § 15-
0505, ef seq.

65. Moreover, the protected wetlands flow into Cold Spring Harbor and,
subsequently, the Long Island Sound, which are further subject to concurrent protection under
the Clean Water Act, 33 U.S.C. §§ 1344.

66. The FWA is subject to enforcement by the New York Department of
Environmental Conservation through its policies to provide “protection of subsurface water
supplies, provid[e] fish and wildlife habitat, flood and storm control, pollution treatment, and
sedimentation control.”

67. |The Environmental Conservation Law also authorizes enforcement of the FWA
through both civil and criminal sanctions, including seeking restoration of wetland benefits
subjected to illegal activity and punishment of violators. NY Env. Cons. L. § 15-0505 and § 71-

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2303, ef seq.

68. The statute specifically authorizes each day of a continuing offense to be treated
as a separate and distinct offense. NY Env. Cons. L. § 71-2303 (2).

69. Specifically, Criminal penalties for violations of Article 24 include a first offense
punishable as a violation by a fine of between $500 and $1,000 and up to fifteen (15) days
imprisonment; second and subsequent offenses constitute misdemeanors punishable by a fine of
between $1,000 and $2,000 and/or imprisonment of fifteen (15) days to six (6) months. The
statute specifically authorizes each day of a continuing offense to be treated as a separate and
distinct offense. ECL § 71-2303(2) . A court may, in lieu of criminal fines or conviction, order
restoration of the wetland to its prior condition.

70. In addition to the foregoing, activities conducted in or near a wetland which result
in discharge, drainage, or runoff of matter into waters of the State may also violate the water
pollution control measures established under NY. Env. Cons. L. § 71-0501, including “civil
penalties of up to $25,000 per day for each violation and criminal penalties.”

SANITARY CODE VIOLATIONS
Sandbar, Lessing, Namresi, SCDHS, Suffolk County, Dawydiak, New York

The Defendants have violated the New York State Sanitary Code, §760-1351, and
Suffolk County Sanitary Codes §760-502 and §760-504, in connection with the premises located
at 37 Main Street and 53-55 Main Street in Cold Spring Harbor, New York 11724.

72. Defendants Sandbar’s and Namresi’s sewage spills, leaks, overflows and
excessive sewage density load in a limited area have resulted from a failure to construct, install,
maintain, renovate, and otherwise conform the sanitary systems located at 37 Main Street and

53-55 Main Street in Cold Spring Harbor, New York 11724 to sufficiently comply with the New

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York State and Suffolk County Sanitary Codes.

73. Defendant Sandbar’s sewage spills, leaks and overflows have resulted from a
failure to adhere to, and comply with, the Suffolk County Department of Health Services
variance granted May 19, 2014.

74. Defendant Sandbar and its principal, Mark Lessing, is liable for the sewage spills,
leaks, and overflows resulting from its failures, acts, and omissions pursuant to the Declaration
of Covenants and Restrictions, personally acknowledged by Stephen Lessing as principal owner
and the managing member of Oyster Bay Management Co., LLC, on June 30, 2014. The
protected DEC wetlands have been contaminated by sewage overflows and the ecosystem has
been impacted by the Sandbar’s continued use of its’ failing sanitary system which has been
documented as failing for years.

75. Despite having knowledge of such overflows, Sandbar and Namresi, since at least
June 20, 2018, continue to operate with the failing and nonconforming sanitary systems. Suffolk
County, individually and by and through the SCDHS and Walter Dawydiak, has failed to enforce
the New York State Sanitary Code, §760-1351, and Suffolk County Sanitary Codes §760-502
and §760-504, and such violations are ongoing and continuing in nature.

76. Defendants ongoing acts and omissions have interfered with the quality of life of
the Spring Street Residents, endangered the health and welfare of the Spring Street Residents,
including Plaintiffs, and resulted in negative economic damages, including adverse affects upon
the DEC protected wetlands and values of Plaintiffs’ residences as a result of the ongoing
activities. Sandbar continues to operate with a known failing sanitary system that their own
expert has acknowledged is contaminating groundwater. The damage to the protected DEC
wetlands must be restored. Also, the noxious fumes, sanitary pumping in excess of four (4) to

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seven (7) times per week on Spring Street and sewage overflow which continues to date (due
solely to Suffolk County, SCDHS, DEC and EPA’s failure to act) has resulted in economic
damage to Plaintiff and their respective properties.
VIOLATION OF THE CLEAN WATER ACT
Sandbar Restaurant, Namresi Construction, Suffolk County, New York

77. Defendants Sandbar, Lessing’s and Namresi have discharged and continue to
discharge sewage into the navigable waters and tributary streams of Cold Spring Harbor and
Long Island Sound in violation of the Clean Water Act.

78. Each of Defendants Sandbar, Lessing's and Namresi’s sewage discharge and
overflows have caused pollutants to flow into the waters of the United States, constituting a
separate violation of Section 301(a) of the Clean Water Act.

79. Significantly more discharges of sewage than those presently known will likely be
discovered through enforcement of this action and, each such additional sewage discharge is a
separate Clean Water Act violation.

80. Defendant’s discharges of sanitary sewage to the navigable waters and tributary
streams of Cold Spring Harbor and Long Island Sound are ongoing and continuous.

81. Despite having knowledge of such sewage discharge by Defendants Sandbar,
Lessing’s and Namresi for years, Suffolk County and the SCDHS has failed to enforce the New
York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and §760-504;
and the provisions of the Clean Water Act.

82. Despite having knowledge of such sewage discharge by Defendants Sandbar,
Lessing’s and Namresi for years, the New York Department of Environmental Conservation has
failed to enforce the New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes

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§760-502 and §760-504; provisions of the New York Environmental Conservation Law and
Freshwater Wetlands Act, provisions of the Clean Water Act, and the April 4, 1984 EPA-DEC
Enforcement Agreement.

83. | By committing the acts and omissions alleged above, Defendants are subject to an
assessment of civil penalties pursuant to the Clean Water Act sections 309(d) and 505(a), 33
U.S.C. §§ 1319(d), 1365(a), occurring from at least June 20, 2018 to the present.

84. By committing the acts and omissions alleged above, Defendants are subject to an
assessment of civil penalties pursuant to the New York Consolidated Laws, Environmental
Conservation Law, Sections 71-2303, et seg., occurring from at least June 20, 2018 to the
present.

85. | Anaction for declaratory judgment is authorized by 28 U.S.C. § 2201.

86. An action for injunctive relief under the Clean Water Act is authorized by 33
U.S.C. § 1365(a). Continuing commission of the acts and omissions alleged above will
irreparably harm Plaintiffs and the public for which harm they have no other plain, speedy, or
adequate remedy at law.

VIOLATION OF THE STATE ADMINISTRATIVE PROCEDURE ACT
Suffolk County, Walter Dawydiak

87. |The New York State Administrative Procedure Act governs the adoption of rule
and regulations that affect the public and “guarantees that the actions of administrative agencies
conform with sound standards developed in [the] state,” and “insures that equitable practices will
be provided to meet the public interest.”

88. The Administrative of Code for Suffolk County, New York provides for an

Environmental Bill of Rights to be upheld by its Council on Environmental Quality.

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89. The Administrative Code for Suffolk County, New York further establishes the
Department of Health Services and grants certain powers, duties, and responsibilities with regard
to the public health of the people of Suffolk County, including, but not limited to general
sanitation and environmental controls. See, Suffolk County Administrative Code, Article IX, §§
A9-2(A)(2)(g), A9-2(E), and A9-5.

90. Article IX, § A9-2(E) of the Administrative Code further establishes a Division of
Environmental Quality, “the head of which shall be the Director of Environmental Quality” who
is “responsible for the environmental health of the people of Suffolk County” including, but not
limited to, pollution control (both water and air), waste management, pollution prevention and
abatement, comprehensive planning for sewage disposal facilities, fresh and marine water
monitoring and control, monitoring and protecting the ecological integrity of the marine
environment, including but not limited to inland fresh waters, open spaces and wetland.”

91. According to Suffolk County’s website, The Suffolk County Department of
Health Services “promotes wellness and protects the public’s health and environment.”

92. _ As stated in Articles 7 and 12 of the Suffolk County Sanitary Code, “it is the
policy of the County of Suffolk to maintain its water resources as near to their natural condition
of purity as reasonably possible.”

93. As provided in the Suffolk County Department of Health Services’ Standard
Operating Procedures, the Suffolk County Sanitary Code provides for the goal of maintaining the
County’s water resources, further providing for remedial actions and clean up measures to
“ensure reasonable protection for public health and the environment.”

94. At all times relevant, Defendant Suffolk County owed a duty to uphold and act in
accordance with the New York State Sanitary Code and Suffolk County Sanitary Code, and to

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meet the requirements of the New York State Department of Environmental Conservation and
the United States Environmental Protection Agency, as further established and set forth in the
Suffolk County Department of Health Services’ Standard Operating Procedures.

95. At all times relevant, Defendant Walter Dawydiak served as the Director of
Environmental Quality, owing a duty to act in accordance with the New York State Sanitary
Code and the Suffolk Sanitary Code, and to meet the requirements of the New York State
Department of Environmental Conservation and the United States Environmental Protection
Agency, as further established and set forth in the Suffolk County Department of Health
Services’ Standard Operating Procedures.

96. The SCDHS, and Walter Dawydiak personally, were advised of the Sandbar
restaurant’s failing sanitary system and continued sewage overflow observed emanating from the
Sandbar sanitary system.

97. | SCDHS and Dawydiak have known since at least May 19, 2014, the Sandbar’s
sanitary system does not comply with the standards of the New York State Sanitary Code or the
Suffolk County Sanitary Code.

98. SCDHS and Dawydiak issued a variance on May 19, 2014, permitting the
Sandbar restaurant to operate in violation of the New York State Sanitary Code and Suffolk
County Sanitary Code.

99. The Sandbar restaurant is operating in violation of the New York State and
Suffolk County Sanitary Codes, using a sanitary system which overflows and leaks, with sewage
observed seeping from the Sandbar driveway onto Spring Street, into the DEC protected
wetlands, Cold Spring Harbor and the Long Island Sound.

100. In addition to numerous reports and complaints to the SCDHS and Walter

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Dawydiak, inspections conducted by the Suffolk County Department of Health Services as early
as June 20, 2018 have confirmed the active failure and overflows of the Sandbar’s failed sanitary
system.

101. On December 19, 2018, the Sandbar was fined by the Suffolk County District
Court for its violations, for which it was required to pay fines totaling $1,500 and a $75.00 fee.

102. Additionally, a hearing was conducted January 17, 2019, as the Sandbar’s failing
sanitary system continued to overflow and leak down its driveway onto Spring Street, into the
DEC protected wetlands, Cold Spring Harbor and the Long Island Sound in violation of the
CWA

103. Further reports and complaints have been made to the SCDHS and Walter
Dawydiak regarding the effects, consequences, and damages resulting from Sandbar’s failing
sanitary system.

104. Inspections conducted by the SCDHS, revealed sewage actively overflowing from
the Sandbar driveway, with sewage, “slowing seeping up through gravel driveway at a
downward sloping section of driveway leading north to Spring Street.

105. Despite the complaints and evidence provided to the SCDHS and Dawydiak
concerning the ongoing violations, the Sandbar restaurant was permitted to continue its
operations and Sandbar’s failing sanitary system remains operating in violation of the State and
County Codes.

106. Moreover, failing to address the failing sanitary system and in disregard of its
own evidence of sewage overflowing and “seeping up through the gravel driveway,” the SCDHS
advised the Sandbar to cover the overflow with multiple layers of gravel, which were compacted
with commercial machinery and are in excess of approximately right (8) inches, and to pump the

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failing sanitary system which has been occurring for years a minimum of four (4) times per week
and up seven (7) times per week.

107. Walter Dawydiak co-authored The Suffolk County Department of Health Services
Standards for Approval of Plans and Construction for Sewage Disposal Systems for Other Than
Single-Family Residents dated December 29, 2017 (the “SCDHS Standards”), which states that
“the purpose of these standards is to provide a means for achieving protection of the
groundwater from excessive contaminant loading and to assure a safe, sanitary means of
disposing of waste water.”

108. As stated herein, pursuant to the SCDHS standards and codes, and the SCDHS
standards authored by Dawydiak himself, the Sandbar system is “failing” and yet the Sandbar
restaurant continues to remain in operation.

109. Furthermore, on or about December 12, 2019, the Sandbar restaurant submitted an
application to the SCDHS seeking a second variance to extend its failing commercial sanitary
system onto the property owned by Namresi at 37 Main Street.

110. The Suffolk County Sanitary Code, authored by Walter Dawydiak, specifically
prohibits the expansion of sanitary systems onto neighboring properties, to wit, the Site
Condition Requirements of Section IX require that, a) sewage disposal systems be located on
land owned by the application and b) on the same parcel as the building.

111. Furthermore, SCDHS and Walter Dawydiak knows or, acting within the course
and scope of their respective offices, should know that Namresi’s sanitary system at 37 Main
Street is designed to provide for residential waste management, and that it was never upgraded to
commercial as required by and in accord with the County and New York State codes.

112. In addition to the foregoing, SCDHS and Walter Dawydiak, individually, have

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been advised that the Application for Sewage Disposal Facilities and Water Supply Systems for
Other Than Single Family Residences submitted by Mark Lessing on December 12, 2019,
contains false statements and material misrepresentations (submitted under penalty of perjury).

113. On May 22, 2020 the Sandbar restaurant’s retained expert at H2M by Christopher
Weiss, PE advised the SCDHS by written communication to Mr. Knepper (SCDHS) of the direct
contamination of the proundwater by the Sandbar’s existing failing sanitary system, advising the
following:

“The existing wicks under the original site will continue to
channel upwelling groundwater from the lower aquifer towards the
surface in the area of the old leeching field. The upwelling water,
as soon as it can, will start to flow by gravity towards the aptly
named Spring Street, in the dominant direction of groundwater
flow”.

Accordingly, Sandbar’s own expert has acknowledged and has notified SCDHS of the
failing sanitary system and the continued ongoing contamination of the groundwater below the
leeching fields of the Sandbar and the contamination of the Spring Street residential area.

114. Despite the foregoing, The SCDHS, DEC and EPA have failed to escalate or
pursue any further remedy to address the illegal failing sanitary system discharges of the
Sandbar into the protected DEC wetlands or underground natural springs that feed Cold Spring
Harbor and Long Island Sound in violation of the CWA and FWA.

115. Instead of escalating or pursuing further remedies to address the Sandbar’s
continued and ongoing illegal discharges from its failing sanitary system, SCDHS and Walter
Dawydiak are permitting a second variance to the Sandbar restaurant to operate in violation of

the New York State Sanitary Code and Suffolk County Sanitary Code, directly contributing to

Sandbar’s and Namresi’s ongoing violations of the CWA and FWA.

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116. SCDHS and Walter Dawydiak have failed to competently and impartially
investigate and enforce the repeat and ongoing violations resulting from continued operation of
the Sandbar restaurant and its failing sanitary system.

117. The actions of SCDHS and Walter Dawydiak, individually and jointly, have
condoned and encouraged the ongoing violations of the Sandbar and Namresi.

118. The SCDHS has failed to hold Walter Dawydiak accountable under the New York
State Administrative Procedures Act, effectively ratifying the actions of Walter Dawydiak.

119. Pursuant to the doctrine of Respondent Superior, SCDHS is vicariously liable for
the negligent acts of Walter Dawydiak made within the scope of his employment as Director of
Environmental Quality for the Suffolk County Department of Health Services.

120. Because Defendants SCDHS and Walter Dawydiak have unreasonably failed to
perform their ministerial duties pursuant to the New York Sanitary Sewer Code, Suffolk County
Sanitary Sewer Code, the Suffolk County Department of Health Services’ Standard Operating
Procedures, and to timely comply with the CWA and FWA they have violated the New York
State Administrative Procedure Act.

121. Walter Dawydiak is not entitled to governmental immunity for his individual
breaches of the New York State Administrative Procedures Act in failing to properly perform his
ministerial duties under the Suffolk County Sanitary Sewer Code and in accordance with the
Suffolk County Department of Health Services’ Standard Operating Procedures.

122. Defendants’ negligence and failure to undertake actions sufficient to meet the
water quality, living resource, vital habitat, and contaminant goals of the New York Sanitary
Sewer Code, Suffolk County Sanitary Sewer Code, and Freshwater Wetlands Act were arbitrary
and capricious. Accordingly, Defendants SCDHS and Walter Dawydiak are subject to legal

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action and enforcement pursuant to Article 78 of the New York CPLR, in connection with the
premises located at 37 Main Street and 53-55 Main Street in Cold Spring Harbor, New York

11724.

VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
U.S. Environmental Protection Agency and its Regional Administrator

123. The Administrative Procedure Act allows citizens to challenge Federal agency
decisions that are arbitrary, capricious, an abuse of discretion, or not otherwise in accordance
with law. 5 U.S.C. § 706(2)(A).

124. The Defendants’ failure to undertake actions sufficient to meet the water quality,
living resource, vital habitat, and contaminant goals of the EPA-DEC Agreements was arbitrary
and capricious.

125. Federal agency action and inaction which violate the terms of the Clean Water
Act and EPA-DEC Agreement are “not otherwise in accordance with the law” and are per se
arbitrary and capricious under the Administrative Procedure Act, 5 U.S.C. § 706(2)(A).

126. Because the Defendants have unreasonably failed to timely comply with the Clean
Water Act and EPA-DEC Agreement and have acted arbitrarily and capriciously, they have
violated the Administrative Procedure Act. Thus, the United States is subject to suit. 5 U.S.C. §§

701, 702.

VIOLATIONS OF NEW YORK PENAL LAW
Defendant Mark Lessing

127. Defendant Mark Lessing violated New York Penal Law § 175.35, offering a false
instrument for filing when he tendered the sworn Application for Sewage Disposal Facilities and
Water Supply Systems for Other Than Single Family Residences submitted to Suffolk County
Department of Health Services on or about December 12, 2019, knowing such sworn application

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contained false statements and material misrepresentations to effectuate a second additional
variance from the SCDHS to extend the Sandbar’s failing commercial sanitary system onto the
property owned by Namresi at 37 Main Street.

128. Defendant Mark Lessing violated New York Penal Law § 210.45 when he issued
a false written statement by knowingly and willfully executing the sworn Application for
Sewage Disposal Facilities and Water Supply Systems for Other Than Single Family Residences
submitted on or about December 12, 2019 knowing such application contained false statements
and material misrepresentations to effectuate a second additional variance from the SCDHS to
extend the Sandbar’s failing commercial sanitary system onto the property owned by Namresi at
37 Main Street.

129. Defendant Mark Lessing violated New York Penal Law §210.15, Perjury in the
First Degree, when he executed the sworn Application for Sewage Disposal Facilities and Water
Supply Systems for Other Than Single Family Residences submitted on or about December 12,
2019 knowing such application contained false statements and material misrepresentations to
effectuate a second additional variance from the SCDHS to extend the Sandbar’s failing
commercial sanitary system onto the property owned by Namresi at 37 Main Street

130. Specifically, in the December 2019 application, Mark Lessing swore under
penalty of perjury that, “37 Main Street and 53-55 Main Street are owned by a single entity
which owns the Sandbar restaurant,” knowing at the time of such statement that the properties at
issue are not owned by a single entity as current tax and property records show Namresi
Construction, Inc. owns the property located at 37 Main Street, and Oyster Bay Management,
Inc. own the property located at 53-55 Main Street (Sandbar). Accordingly, Mark Lessing, the
Sandbar, and Lessing’s Defendants do not own, operate, or have related authority to seek any

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material action involving the property located at 37 Main Street;

131. At the time such statement was made, Mark Lessing knew the Suffolk County
Sanitary Code specifically prohibits the expansion of sanitary systems onto neighboring
properties, requiring that “a) sewage disposal systems be located on land owned by the
application and b) on the same parcel as the building. In the December 12, 2019 application,
Mark Lessing swore under penalty of perjury that, the total “Gross Floor Area of [the]
Building(s)” is 7,049 square feet.”

132. At the time such statement was made, Mark Lessing knew that the gross floor area
of the Sandbar alone is approximately seven thousand forty-nine (7,049) square feet and the
commercially operated building located on the property of 37 Main Street, is approximately
three thousand (3,000) square feet for a total of approximately ten thousand forty-nine (10,049)
square feet [almost fifty percent (50%) more commercial square feet than represented under oath
in the application]. The correct total “Gross Floor Area of Buildings” on the two (2) properties
in question exceeds no less than ten thousand (10,000) square feet.

133. In the December 12, 2019 application, Mark Lessing swore under penalty of
perjury that the Gallons Per Day of Sewage Discharge is reflected as 2,550 gpd for both
properties - Sandbar and Namresi.

134. At the time such statement was made, Mark Lessing knew the “Gallons Per Day
of Sewage Discharge” represented in the application does not account for any of the gallons per
day sewage discharge from the commercially-operated building located on the property of 37
Main Street. The two thousand five hundred fifty (2,550) gpd reflects the Sandbar restaurant

alone.

135. In the December 12, 2019 application, Mark Lessing swore under penalty of

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perjury that, The “Total Area of Parcel” is 0.61 acres.

136. At the time such statement was made, Mark Lessing knew the reported “Total
Area of Parcel” of 0.61 acres upon which the application was brought was inaccurate as it does
not account for a single parcel, but for the combined area of both parcels of land located at 37
Main Street and 53-55 Main Street which are owned and operated by two (2) separate entities.

137. The misrepresentations, sworn to and submitted under penalty of perjury by Mark
Lessing intentionally mislead and misinform the SCDHS to effectuate a second additional
variance for the sole benefit of the Sandbar and Namresi without consideration of the
environmental impacts to the designated DEC protected wetlands, the underground natural
springs, or the waters into which they feed specifically Cold Spring Harbor and the Long Island
Sound, in violation of the CWA, FWA, New York State Sanitary Code, §760-1351, and Suffolk
County Sanitary Codes §760-502 and §760-504.

RELIEF REQUESTED

Plaintiffs respectfully request that this Honorable Court grant the following relief:

a) Declare Defendant Oyster Bay Management Co, LLC to have violated and to be in
violation of the New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes
§760-502 and §760-504; and the Clean Water Act, 33 U.S.C. § 1251, ef seg. for the illegal
discharges and sanitary system overflows of the Sandbar restaurant since at least June 20, 2018;

b) Declare Lessing’s Food Service Management Corp. to have violated and to be in
violation of the New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes
§760-502 and §760-504; and the Clean Water Act, 33 U.S.C. § 1251, et seg. for the illegal
discharges and sanitary system overflows of the Sandbar restaurant since at least June 20, 2018;

c) Declare Lessing’s Franchise Group to have violated and to be in violation of the New

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York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and §760-504;
and the Clean Water Act, 33 U.S.C. § 1251, ef seq. for the illegal discharges and sanitary system
overflows of the Sandbar restaurant since at least June 20, 2018;

d) Declare Lessing’s NY Corp. to have violated and to be in violation of the New York
State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and §760-504; and
the Clean Water Act, 33 U.S.C. § 1251, et seg. for the illegal discharges and sanitary system
overflows of the Sandbar restaurant since at least June 20, 2018;

e) Declare Lessing’s Restaurant Services, Inc. to have violated and to be in violation of
the New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and
§760-504; and the Clean Water Act, 33 U.S.C. § 1251, et seg. for the illegal discharges and
sanitary system overflows of the Sandbar restaurant since at least June 20, 2018;

f) Declare Lessing’s, Inc. to have violated and to be in violation of the New York State
Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and §760-504; and the
Clean Water Act, 33 U.S.C. § 1251, ef seg. for the illegal discharges and sanitary system
overflows of the Sandbar restaurant since at least June 20, 2018:

g) Declare Defendant Mark Lessing to have violated New York Penal Law § 175.35 in
offering a false instrument for filing with a public authority, public servant, or public office in
order to fraudulently secure approval of an Application for Sewage Disposal Facilities and Water
Supply Systems for Other Than Single Family Residences executed on or about December 12,
2019;

h) Declare Defendant Mark Lessing to have violated New York Penal Law § 210.45 in
offering a false written statement to the Suffolk County Department of Health Services in order
to fraudulently secure approval of an Application for Sewage Disposal Facilities and Water

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Supply Systems for Other Than Single Family Residences executed December 12, 2019;

i) Declare Defendant Mark Lessing to have committed Perjury in the First Degree, in
violation of New York Penal Law § 210.15 by swom execution of the Application for Sewage
Disposal Facilities and Water Supply Systems for Other Than Single Family Residences on or
about December 12, 2019, while knowing such application contained false statements and
material misrepresentations, in order to fraudulently secure approval of second variance from the
Suffolk County Department of Health Services;

Jj) Declare Namresi Construction and Development Corp. to have violated and to be in
violation of the New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes
§760-502 and §760-504; and the Clean Water Act, 33 U.S.C. § 1251, ef seg. for the illegal
discharges occurring at and from 37 Main Street in Cold Spring Harbor, New York 11724;

k) Issue a declaratory judgment against the State of New York, finding it to have acted in
violation of the New York State Administrative Procedure Act, NY State APA § 102, e7. seg., he
New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502 and §760-
504; the Freshwater Wetlands Act, NY Env. Cons. L. § 24-0101, ef. seg., and the Clean Water
Act, 33 U.S.C. § 1251, et seq. for the New York Department of Environmental Conservation’s
failure to properly investigate, enforce, and assert appropriate penalties for the ongoing illegal
discharges and sanitary system overflows of 37 Main Street and 53-55 Main Street in Cold
Spring Harbor, New York 11724;

1) Issue an order against the State of New York requiring enforcement of its duties by and
through the New York Department of Environmental Conservation under Article 78 of the New
York CPLR, in connection with the premises located at 37 Main Street and 53-55 Main Street in
Cold Spring Harbor, New York 11724;

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m) Issue a declaratory judgment against Suffolk County, New York, finding it to have
acted in violation of the New York State Administrative Procedure Act, NY State APA § 102, et.
seg., he New York State Sanitary Code, §760-1351; Suffolk County Sanitary Codes §760-502
and §760-504; the Freshwater Wetlands Act, NY Env. Cons. L. § 24-0101, ef. seg., and the
Clean Water Act, 33 U.S.C. § 1251, ef seq. for its failure to properly investigate, enforce, and
assert appropriate penalties for the ongoing illegal discharges and sanitary system overflows of
Namresi Construction and Sandbar restaurant;

n) Issue an order against Suffolk County requiring enforcement of its duties by and
through the Suffolk County Department of Health Services under Article 78 of the New York
CPLR, in connection with the premises located at 37 Main Street and 53-55 Main Street in Cold
Spring Harbor, New York 11724;

0) Issue a declaratory judgment against Walter Dawydiak, finding him to have acted in
violation of his ministerial duties under the New York State Administrative Procedure Act, NY
State APA § 102, ef. seg., and his actions in violation of New York State Sanitary Code, §760-
1351; Suffolk County Sanitary Codes §760-502 and §760-504; the Freshwater Wetlands Act,
NY Env. Cons. L. § 24-0101, ef. seg., and the Clean Water Act, 33 U.S.C. § 1251, et seg. for its
failure to properly investigate, enforce, and assert appropriate penalties for the ongoing illegal
discharges and sanitary system overflows of Namresi Construction and Sandbar restaurant;

p) Issue an order against Walter Dawydiak requiring enforcement of his ministerial
duties as Director of Environmental Quality for the Suffolk County Department of Health
Services 8under Article 78 of the New York CPLR, in connection with the premises located at
37 Main Street and 53-55 Main Street in Cold Spring Harbor, New York 11724;

q) Issue a declaratory judgment declaring that the U.S. Environmental Protection Agency

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violated the Clean Water Act and the Administrative Procedures Act by failing to perform their
nondiscretionary duties under the CWA and to implement and administer the Act in a manner
that complies with the Administrative Procedure Act;

r) Immediately enjoin Defendants from operating, and allowing the operation of, the
failing and non-compliant sanitary systems at 37 Main Street and 53-55 Main Street in Cold
Spring Harbor, New York 11724, and from further discharging sanitary sewage into the
freshwater wetlands and navigable waters and tributary streams of Cold Spring Harbor and Long
Island Sound;

s) Enjoin Defendants Oyster Bay Management, Sandbar, and the Lessing’s Defendants
from extending the Sandbar restaurant’s sanitary system onto neighboring properties in violation
of County Codes;

t) Assess civil penalties against Defendants Sandbar, Lessing’s, and Namresi of up to o
$37,500 per day per violation for violations occurring on or before June 20, 2018, and $55,800
per day per violation for violations occurring after June 20, 2018. 40 C.F.R. § 19.4 (effective
Jan. 13, 2020);

u) Allow Plaintiffs to recover all economic and non-economic damages available to them
resulting from the illegal sewage discharges and overflows of Namresi;

v) Allow Plaintiffs to recover all available economic and non-economic damages to
which they are entitled from each Defendant as a result of the illegal sewage discharges and
sewage overflows of the Sandbar;

w) Immediately enjoin the Defendants from proceeding with the second variance sought
in the falsely sworm Application for Sewage Disposal Facilities and Water Supply Systems for
Other Than Single Family Residences submitted by Mark Lessing on or about December 12,

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2019, which will further violate the Suffolk County and SCDHS and New York State codes;

x) Ordering the Defendant’s to remediate the damages sustained by the DEC protected
wetlands on Plaintiffs properties specifically those wetlands located at 36 Spring Street
(including those wetlands which abut Shore Road and Spring Street) and east along Spring
Street.

y) Allow Plaintiffs to recover the reasonable fees, costs, and disbursements of this action,
including attorney’s fees with this litigation; and

z) Grant such further and additional relief as the Court may deem just and proper.

JURY DEMAND

 
 
   
   

Plaintiffs requests a trial by jury on all issues so triable.

Respectfully submitted November 19, 2022,

| Jennifer L. Codey Esq. (JC5573)

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